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                    UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                            Lynchburg Division


     In re:                                Chapter 11
     KAREN FOSTER,                         Case No. 12-60619
              Debtor.


     JOHN L. WYNNE,
              Movant,
     v.                                   Motion for Relief From Stay
     KAREN FOSTER,
              Debtor.


                            VERIFIED
 DEBTOR-IN-POSSESSION'S RESPONSE TO MOTION FOR RELIEF FROM STAY

      COMES NOW the debtor-in-possession, by counsel, who hereby
responds to the Motion for Relief from Automatic Stay filed by

John L. Wynne on the grounds stated herein.
      I. ENUMERATED RESPONSE TO THE MOTION FOR RELIEF FROM STAY
1.    The allegations of ^1 of the Motion for Relief from Stay are

admitted.
2.    The allegations of \2 of the Motion for Relief from Stay are
denied.     Ms. Foster has not filed "eight previous bankruptcies"
as alleged in the Motion for Relief from Stay.
3.    The allegations of ^3 of the Motion for Relief from Stay are

admitted.
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4.   The allegations of 14 of the Motion for Relief from Stay are
denied.     Mr. Wynne did not make a loan on August 23, 2006 in the
amount of $40,000.00.      On August 23, 2006, Mr. Wynne did not loan
Ms. Foster any money: he paid Ms. Foster $100.00 for feeding his
horses (Check No. 8685) and he paid a parking ticket to City of
Lynchburg (Check No. 8686) that had been placed on Mr. Wynne's
car while Ms. Foster was driving it.          Mr. Wynne apparently
considered those payments a loan, but they were not a loan--they
were his debts that he himself owed.1

5.   The allegations of 15 of the Motion for Relief from Stay are
admitted, but the Lynchburg City Circuit Court did not consider
any matters that occurred prior the foreclosure sale on September
25, 2008.    Specifically, the Lynchburg City Circuit Court in
cases CL1004795-00 and CL10005362-00 did not consider whether Mr.
Wynne did not loan $40,000.00 to Ms. Foster or whether the deed
of trust and the subsequent foreclosure were fraudulent

conveyances.
6.   The allegations of 16 of the Motion for Relief from Stay are

admitted.
7.   The allegations of I? of the Motion for Relief from Stay are

admitted.
8.   The allegations of ^B of the Motion for Relief from Stay are


     1  Wynne may not claim that the Deed of Trust secured
advances of money to be made after August 23, 2006 because
Va.Code § 55-58.2 specifically requires that such a deed of trust
state, in conspicuous letters, "THIS IS A CREDIT LINE DEED OF
TRUST," and the August 23, 2006 Deed of Trust did not contain
such words.
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admitted.

9.    The allegations of 19 of the Motion for Relief from Stay are
admitted.
10.   The allegations of 1|10 of the Motion for Relief from Stay
are admitted.
11.   The allegations of 111 of the Motion for Relief from Stay
are admitted.
12.   The allegations of 1Jl2 of the Motion for Relief from Stay
are admitted, but the Chapter 13 Trustee told Ms. Foster that she
was not required to attend the meetings.
13.   The allegations of 1l3 of the Motion for Relief from Stay
are admitted.
14.   The allegations of 1l4 of the Motion for Relief from Stay
are admitted.
15.   The allegations of Hl5 are denied.
      (a)   The movant's characterization of the "Debtor's Response
to Motion for Relief from Stay" in Case No. 12-60080 is not
accurate because the movant's statement that, "That is exactly
what the parties litigated for two years" is not correct.
      (b)   Ms. Foster's pro se failure to list a claim against Mr.
Wynne in Case No. 12-60080 does not constitute grounds for
judicial estoppel because the elements of judicial estoppel are
not pleaded in the Motion for Relief from Stay and Ms. Foster
identified the grounds of her complaint against Wynne in the
"Debtor's Response to Motion for Relief from Stay" filed on March
6, 2012, while Case No. 12-60080 was still pending.
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16.   The allegations of ^16 are denied.          The Chapter 13 Trustee
did not make a comment on whether Ms. Foster made any "attempt"
to comply with requirements.
17.   The allegations of 1l7 are admitted.
18.   The allegations of Hl8 are denied.         Ms. Foster has paid the
filing fee and filed all required schedules.
19.   The allegations of tl9 are denied.          The "Claim to Recover
Lot 13 Block A Evergree [sic] Subdivision" is not the same claim
that Ms. Foster raised in Lynchburg Circuit Court.
20.   The allegations of 120 are denied.         The Lynchburg Circuit
Court has not entered a final order and the Court did not address
any factual matters that occurred before the foreclosure sale or
whether the deed of trust or the foreclosure sale were fraudulent
conveyances.
21.   The allegations of 121 is denied to the extent that it
implies that the bond, which is property of the estate held by a
custodian, is not subject to turnover because of the timing that
the custodian came into possession of the property.
22.   The allegations of 1122 are denied because Mr. Wynne does not
have a valid claim to the property.          The only claim he has to the
property arises from his false claim that he loaned $40,000.00 to
Karen Foster on August 23, 2006.
23.   The allegations of 123 are irrelevent to the issues
regarding relief from the automatic stay and Ms. Foster denies
the movant's legal arguments.
24.   The allegations of 124 are irrelevent to the issues
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regarding relief from the automatic stay and Ms. Foster denies
the movant's legal arguments.

25.   The allegations of 1)25 that Ms. Foster has no business to
reorganize are denied.

26.   THERE IS EQUITY IN THE PROPERTY: The allegations of 126 that
Ms. Foster has no equity in the 2232 Ridgewood Drive property are
denied because the movant has no claim in the property that does
not arise from his false claim that he loaned $40,000.00 to Karen
Foster on August 23, 2006.       The movant has claimed that the
property is worth $200,000.00 and the movant's claim is for
$40,000.00, leaving equity in the property of $163,000,00.
27.   THE PROPERTY IS NECESSARY FOR MS. FOSTERS REORGANIZATION:
The allegations of 127 that the property at 2232 Ridgewood Drive
is not necessary for Ms. Foster's effective reorganization are
denied because it is Ms. Foster's home, she rents rooms in the
house for $1000.00 per month, and the house is a substantial
asset that should be recovered by the bankruptcy estate.
      II. EQUITABLE GROUNDS FOR DENYING THE MOTION FOR RELIEF
                             FROM STAY

       A. THE DEED OF TRUST WAS A FRAUDULENT CONVEYANCE AND
                WAS CONCEALED BY BANKRUPTCY FRAUD.
28.   This Court should deny the Motion for Relief from Stay
because the August 23, 2006 Deed of Trust made in favor of Wynne
was a fraudulent conveyance.        The fraudulent Deed of Trust is the
sole basis of Mr. Wynne's claim to possession of the property at
2232 Ridgewood Drive and possession of a $20,500.00 bond posted
by Ms. Foster with the Clerk of the Circuit Court of the City of
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Lynchburg.

29.     Mr. Wynne has presented, throughout the state court
litigation, and in the instant Motion for Relief from Stay, the
fraudulent and false premise that he loaned Ms. Foster $40,000.00
on August 23, 2006.       Specifically, the movant stated in ^4 of the
instant Motion for Relief from Stay that the Lynchburg Circuit
Court "suits arose from a loan made on August 23, 2006 by Mr.
Wynne to Ms. Foster which was evidenced by a $40,000.00 demand
note and was secured by a second deed of trust on real property
then owned by Ms. Foster located at 2232 Ridgewood Drive,
Lynchburg VA."     In fact, Mr. Wynne loaned Ms. Foster no money on
August 23, 2006.
30.   Ms. Foster has consistently claimed that Wynne did not loan
her $40,000.00 on August 23, 2006.          She first learned on
September 12, 2008 that Peter Sackett had scheduled a foreclosure
sale of her property for September 25, 2008.            Ms. Foster, acting
pro se. filed Case No. CL08-002958-001 in Lynchburg Circuit Court
to enjoin the September 25, 2008 foreclosure sale.              A hearing was
held on September 24, 2008.        At the hearing, Ms. Foster said that
Mr. Wynne did not loan her $40,000.00 and she demanded an
accounting of the money that Wynne claimed was due under the
note.    The Court denied the motion for an injunction, but told
Peter Sackett to provide her an accounting of the money due under
the note.    Mr. Sackett did not provide the accounting, but
conducted the foreclosure sale the next day.             Subsequent
litigation between Ms. Foster, Wynne, and Sackett involved only
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events that occurred after the foreclosure sale, not the amount
due under the note.
31.     The transfer of the Deed of Trust to Wynne was a fraudulent
conveyance.
        (a)   The Deed of Trust was a void transfer pursuant to
Va.Code § 55-81.
              (1)    The Deed of Trust was a transfer from Ms. Foster
to Wynne of an interest in her property; and
              (2)    Ms. Foster was insolvent at the time or was
rendered insolvent by the transfer of the equity in her home;
              (3)    The consideration for the transfer of the Deed of
Trust ($0.00) was not of equal value to the property obtained by
Wynne in the transfer ($40,000.00).
        (b)   The Deed of Trust to Wynne was a void transfer pursuant
to 11 U.S.C. § 548.
              (1)    The Deed of Trust was made within two years prior
to the filing of Ms. Foster's Chapter 7 Case No. 07-61731;
              (2)    Ms. Foster received less than reasonably
equivalent value for the transfer of the Deed of Trust ($0.00)
and she did not receive equal value to the property obtained by
Wynne in the transfer ($40,000.00); and
              (3)    Ms. Foster was insolvent at the time or was
rendered insolvent by the transfer of the equity in her home.
32.     The fraudulent conveyance was concealed by Wynne's fraud.
Ms. Foster filed Chapter 7 Case No. 07-61731 on September 14,
2007.    Andrew S. Goldstein was appointed Trustee in the case. On

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April 3, 2008, Wynne filed a letter with the Clerk of this Court,
with a copy to Mr. Goldstein, purporting to be a Proof of Claim
in Case No. 07-61731.       The letter stated: "I am submitting a
Proof of Claim supported by an itemization of charges and a
schedule of loans to [Ms. Foster]" (underlining in original).
The letter claimed a "$40,000 note executed by Ms [sic] Foster
secured by a recorded Deed of Trust on 2232 RidgeWood DR. [sic]
Lynchburg   RE: schedule (A).       Amount due $45,916.00."         Wynne
attached a document entitled "Schedule A" that showed that Wynne
charged Foster 8% interest from August 23, 2006, and showed a
total claim of "$45,315," even though Wynne had not loaned Foster
$40,000.00 on August 23, 2006.         Upon information and belief, Mr.
Goldstein was misled by Wynne's fraudulent Proof of Claim into
not pursuing a fraudulent conveyance claim even though he would
have done so if he had not been misled by Wynne.
      WHEREFORE the granting of the Motion for Relief from Stay by
this Court would allow Wynne to complete a fraudulent scheme to
obtain Ms. Foster's property for nothing and this Court should
not enter such an order.
                   B. THE FORECLOSURE SALE IS VOID.

          (1) THE AUGUST 23. 2006 NOTE WAS VOID AB INITIO
          AND THE FORECLOSURE SALE TO ENFORCE THE NOTE IS
                            ALSO VOID.

33.   This Court should deny the Motion for Relief from Stay
because the foreclosure sale was void.           The foreclosure sale was
void because it was an action to enforce the August 23, 2006 Deed
of Trust, which secured the August 23, 2006 Note, but the Note

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itself is void.       The foundation of Wynne's claim to Ms. Foster's
property is the void note.
34.   The Note is invalid under Virginia contract law.
      (a)   The Note was not a bargained-for exchange.
            (!)     A contract that is not supported by consideration
is not a true bargain and is void.            Although a "peppercorn" may
be adequate consideration under Virginia law if actually
bargained, no consideration is a sign that the contract was not
based on an actual bargain.
            (2)     The utter lack of consideration here was not
actually bargained-for.         On the morning of August 23, 2006, Ms.
Foster was released from jail.           She was broke.      She immediately
went to see Wynne, her boyfriend, because he was her boyfriend
and she wanted to see him and because he owed her $100.00 for
feeding his horses.        Wynne was himself incarcerated at the time
and was allowed to go to work each day on work release, so he had
not been allowed to see Ms. Foster while she was in jail.
According to Wynne, Ms. Foster signed a Note and Deed of Trust,
promising to pay him $40,000.00 during that visit.                According to
Wynne's version of the facts, he had apparently prepared the
papers while Ms. Foster was in jail and that she had not seen or
discussed with him prior to that morning.
            (3)     The contract was not a bargained-for exchange,
which is evidenced by the lack of consideration for Wynne's
windfall. See Restatement (Second) of Contracts § 71 (1) (1981) ("To
constitute consideration, a performance or a return promise must
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be bargained for").         Thus, the Note was void ab initio and the
foreclosure, which was merely an action to enforce the void
contract, is also void.
      (b)    The Note recited false consideration.
             (1)    Although a peppercorn or "tomtit" may be adequate
consideration, the consideration for the contract must be
correctly stated in the contract.             The consideration may not be
falsely stated or be a sham.           Restatement (Second) of Contracts §
79(1981), comment d.         Sham consideration may not support a valid
contract. Id.
             (2)    Here, the contract stated that Ms. Foster promised
to pay Wynne $40,000.00 in exchange "For Value Received."                   The
value she received was not the stated $40,000.00; instead she
received nothing.
             (3)    The Note was void because it contained a false
recital of consideration.           The Note was void ab initio and the
foreclosure, which was merely an action to enforce the void
contract, is also void.
            (2) THE FORECLOSURE SALE IS VOID AS A FRAUDULENT
                      TRANSFER UNDER VIRGINIA LAW.

35.   Peter Sackett, the trustee acting under the August 23, 2006
Deed of Trust, fraudulently conveyed Ms. Foster's property at
2232 Ridgewood Drive to Wynne in violation of Va.Code § 55-80 and
va. Code § 55-81.
      (a)    The Trustee's Deed was a void transfer pursuant to

Va.Code § 55-80.
             (!)    The Trustee's Deed was a transfer from Sackett to
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Wynne of an interest in property; and
            (2) The transfer was made with the intent by Wynne
(who falsely told Sackett that he was owed $40,000.00 by Foster)
to delay, hinder or defraud creditors or other persons,
specifically Ms. Foster, of property to which Foster was lawfully
entitled.
      (b)   The Trustee's Deed was a void transfer pursuant to
Va.Code § 55-81.
            (1) The Trustee's Deed was a transfer from Sackett to
Wynne of an interest in Ms. Foster's property; and
            (2)    Ms. Foster was insolvent at the time of the
transfer;
            (3)    The consideration for the transfer of the
Trustee's Deed ($0.00) was not of equal value to the property
obtained by Wynne in the transfer ($40,000.00).
36.   Ms. Foster has filed an adversary proceeding in this Court
to avoid under Virginia law the fraudulent transfer of her
property by the sham Trustee's Deed.2
      WHEREFORE the granting of the Motion for Relief from Stay by


     2  Ms. Foster prays that this Court will note that the
Supreme Court's decision in BFP v. Resolution Trust Co.. 511 U.S.
531, 545 (1994) is not applicable here. BFP related to an attack
on a foreclosure sale under 11 U.S.C. § 548 and the debtor's
adversary proceeding is not brought under that statute.
Moreover, the Supreme Court wrote that "[w]e deem, as the law has
always deemed, that a fair and proper price, or a "reasonably
equivalent value," is the price in fact received at the
foreclosure sale, so long as all the requirements of the state's
foreclosure law have been complied with" (emphasis added), and
the Ms. Foster has attacked the foreclosure sale strictly on
state law grounds.
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this Court would allow Wynne to complete a fraudulent scheme to
obtain Ms. Foster's property for nothing and this Court should
not enter such an order.
          (3) THE FORECLOSURE SALE IS VOID DUE TO A GROSSLY
                       INADEQUATE SALES PRICE.

37.   The foreclose sale is void because Ms. Foster's property was
sold by Peter Sackett, the trustee who sold the property pursuant
to the Deed of Trust, for a grossly inadequate price.
38.   Virginia law requires that a foreclosure sale is void3 if
the sale is for a price so inadequate "that it shocks the
conscience of the chancellor."4        Here, Wynne "bid in" the
property for the amount of his debt, which was $0.00.               The
property was worth $200,000.00.        Wynne paid a price equal to 0%
of the value of the property.        The price of this sale was so
inadequate as to have been merely a sham price.            The sale price
here was plainly inadequate; the only way to conclude that the
sale price was not "so inadequate" "that it shocks the conscience
of the chancellor" is to conclude that the rule of
unconscionability is not valid but is itself a sham.
      WHEREFORE the granting of the Motion for Relief from Stay by
this Court would allow Wynne to complete a fraudulent scheme to
obtain Ms. Foster's property for nothing and this Court should


     3  Linney v. Normovle. 145 Va. 589, 592, 134 S.E. 554, 554
(1926)("the conveyance" "was voidable in a court of equity, and
would have been decreed void at the prayer of M. F. Normoyle, the
complainant," but Normoyle did not ask that the sale be decreed
void).
      4   Id. at 595, 134 S.E. at 555.
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not enter such an order.
           (4) THE FORECLOSURE SALE IS VOID AS A FRAUDULENT
                    TRANSFER UNDER BANKRUPTCY LAW.

39.   The foreclosure sale was void under 11 U.S.C. § 548.              Peter
Sackett, the trustee acting under the August 23, 2006 Deed of
Trust, fraudulently conveyed Ms. Foster's property at 2232
Ridgewood Drive to Wynne in violation of 11 U.S.C. § 548(a) (1) .
34.   The Supreme Court's decision in BFP v. Resolution Trust
Co. , 5 is not applicable to this claim.       BFP related to an attack
on a foreclosure sale under 11 U.S.C. § 548 and Ms. Foster's
adversary proceeding is not brought under that statute.
Moreover, the Supreme Court wrote that "[w]e deem, as the law has
always deemed, that a fair and proper price, or a "reasonably
equivalent value," is the price in fact received at the
foreclosure sale, so long as all the requirements of the state's
foreclosure law have been complied with" (emphasis added).               The
Ninth Circuit has held, after BFP that: "Gross inadequacy of
price is a ground for setting aside the foreclosure, under BFP.
if state law so provides, but it is not a federal standard
independent of state law enabling a bankruptcy court to set aside
a foreclosure sale."6      Thus, if state law allows, as Virginia law
does, a foreclosure sale to be set aside when the price shocks
the conscience, a bankruptcy court may apply that standard of


      5   511 U.S. 531, 545 (1994)

     6  Lindsay v. Beneficial Reinsurance Co.. 59 F.3d 942, 948
(9th Cir. 1995), cert, denied. 516 U.S. 1074, 116 S.Ct. 778, 133
L.Ed.2d 730 (1996) .
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value to determine whether a foreclosure sale is a fraudulent
conveyance under 11 U.S.C. § 548(a)(I).7
40.     The foreclosure sale by Sackett was avoidable pursuant to 11
U.S.C. § 548(a)(1).
        (a)    The transfer was a transfer of an interest in Ms.
Foster's property;
        (b)    The transfer was made within two years of the filing of
the petition in this case;
        (c)    The transfer was made for less than a reasonably
equivalent value, as defined by Virginia law;
        (d)    Ms. Foster was insolvent at the time the transfer was
made.
      WHEREFORE the granting of the Motion for Relief from Stay by
this Court would allow Wynne to complete a fraudulent scheme to
obtain Ms. Foster's property for nothing and this Court should
not enter such an order.
              III. THE COURT SHOULD DENY THE MOTION FOR RELIEF
                STAY BY EITHER ADJUDICATING THE MERITS OF MS.
                 FOSTER'S CLAIM OR BY ADJUDICATING HER CLAIMS
                      UNDER THE STANDARD OF A PRELIMINARY
                                  INJUNCTION.

41.   Defenses involving the validity of the moving creditor's
asserted lien or claim for relief may be considered by the
Bankruptcy Court in exercising its discretion in connection with
the lift-stay hearing.8        Congress explained the relationship

     7  Murphy v. Town of Harrison. 331 B.R. 107, 127 (Bankr.
S.D.N.Y. 2005) .

     a  United Companies Financinal Corp v. Brantley, 6 B.R. 178,
185 (Bankr. N.D. Fla. 1980); see also In re Bialac. 694 F.2d 625
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between motions for relief from stay and claims that the debtor
has against the movant.          Normally, a hearing on a motion for
relief from stay is not "the appropriate time at which to bring
in other issues, such as counterclaims against the creditor or
largely unrelated matters."9           However, the Bankruptcy Court may
consider "evidence on the existence of claims which the court may
consider in exercising its discretion," including evidence on the
amount, extent, and validity of the movant's claim.                    The debtor
is not prohibited from presenting evidence on the existence of
collateral claims at a hearing on a motion for relief from stay;
the Senate report stated that "[w]hat is precluded is a
determination of such collateral claims on the merits at the
hearing. "10

42.   Ms. Foster's claims are "direct defenses--ones that go to
the heart of the creditor's claim."             As direct defenses, the
Court should determine the merits of her defenses at the hearing
on the motion for relief from stay.11

43.   When a debtor raises "extraneous grounds" as a defense to a
motion for relief from the stay, the Bankruptcy Court should not
adjudicate the extraneous grounds on their merits, but simply

(9th Cir. 1982).
     9  H.R. Rep. No. 595, 95th Cong., 1st Sess. 344 (1977); In
re Vitreous Steel Products Co., 911 F.2d 1223, 1232 (7th Cir.
1990); In re Booth. 289 B.R. 665, 667-668 (Bankr. N.D. 111.
2003) .
      10
           Id. .
     11 See Drake v. Franklin Equipment Co.. 416 B.R. 483 (E.D.
Va. 2009}.
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determine whether there is a "colorable11 claim that should be
decided on the merits before relief from the stay is granted.12
When a debtor raises extraneous grounds as a defense to a motion
for relief from stay, the Bankruptcy Court should consider those
grounds in the manner appropriate to an equivalent request for a
restraining order or preliminary injunction.
43.   If the Court considers Ms. Foster's defense to the Motion
for Relief from Stay as "extraneous grounds" rather than "direct
defenses," then her defense satisfies the elements of a
Preliminary Injunction as set forth in The Real Truth About
Obama. Inc. v. Federal Election Commission.13
      (a)    Ms. Foster is likely to succeed on the merits of her
claim that Wynne did not loan her any money on August 23, 2006.
The motion for relief from stay should not be granted until she
has had a hearing on the merits of her claim.
      (b)    Ms. Foster is likely to suffer irreparable harm in the
absence of preliminary relief because Wynne would regain
possession of the property, Ms. Foster would be ejected from her
home, Ms. Foster would lose her tenants and the rental income
that she gains from the property.           Wynne would be free, in the


     12 Grella v. Salem Five Cent Savings Bank. 42 F.3d 26, 32
(1st Cir. 1994){stating that proceedings under § 362 of the Code
"do not involve a full adjudication on the merits of claims,
defenses, or counterclaims, but simply a determination as to
whether a creditor has a colorable claim to property of the
estate"); In re Vitreous Steel Products Co.. 911 F.2d at 1232
(hearings to determine whether stay should be lifted are meant to
be summary in character).
      13    575 F.3d 342 {4th Cir. 2009).

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absence of an injunction, to convey the property to a bona fide
third-party purchaser for value, which would render it impossible
for Ms. Foster to recover the property.            The harm to Ms. Foster
would be irreparable by a legal remedy.
        (c)   The balance of equities tips in Ms. Foster's favor.
Ms. Foster will lose her property if an injunction is not granted
pending a hearing on the merits of her claim, rendering a later
hearing on the merits moot.         This is balanced against no harm to
Wynne, who has perpetrated a fraud upon this Court, upon Ms.
Foster, and upon Ms. Foster's creditors.            Wynne is fully
protected against delay in a full hearing on the merits of Ms .
Foster's claim by a $20,500.00 cash bond posted Mr. Foster and by
an equity cushion of $200,000.00.           The balance of equities weighs
heavily in favor Ms. Foster and in favor of delaying a ruling on
the motion for relief from stay pending a ruling on the merits of
her claim.
        (d)   An injunction is in the public interest.          Wynne has
perpetrated a fraud on the Circuit Court of the City of
Lynchburg, the Commissioner of Accounts to whom the accounting of
the foreclosure sale was filed, the Trustee in Ms. Foster's 2007
bankruptcy, and upon this Court in this proceeding.               If an
injunction is not granted, Wynne will have successfully completed
his fraudulent scheme by obtaining possession of Ms. Foster's
home.    The public interest can only be protected by denying the
motion for relief until the merits of Ms. Foster's claim are
adjudicated.

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                              IV. CONCLUSION

        There are three reasons to deny the motion for relief from
stay.

        1.   THERE IS EQUITY IN THE PROPERTY: There is $163,000.00
equity in the property that the movant seeks to obtain.

        2.   THE PROPERTY IS NECESSARY FOR THE REORGANIZATION OF THE

DEBTOR: The property is Ms. Foster's home and she obtains rental

income from renting rooms in the house, so the property is
necessary for Ms. Foster's reorganization.

        3.   THERE IS NO EQUITABLE "CAUSE" TO GRANT RELIEF FROM THE

STAY: The movant's claim to the property is a fraudulent sham: he

only loaned Ms. Foster no money on August 23, 2006, but he is

attempting to obtain possession of a house worth $200,000.00 and

a cash bond of $20,500.00.       The Deed of Trust and the Trustee's

Deed that are the technical basis for his claim are fraudulent

and Ms. Foster is entitled to a hearing on the merits of her

adversary proceeding (or at least a hearing on whether

preliminary injunctive relief is justified) to avoid the sham

transactions before this Court grants the movant the relief that

he seeks.
                                           Respectfully Submitted,

                                           KAREN FOSTER
                                           By:

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                 I have read the foregoing and a f f i r m Chat the f a c t s recited

          herein are true and correct to the best of Ty knowledge and
          belief     I a f f i r m that I have carefully reviewed each and every
          paragraph of the f o r e g o i n g , that I have initialled each paragraph
          and that I have instructed my attorney to f i l e this cased upon
          this verification that the facts coo'tained-i herein are accurate.

                                             Katen W .    oster

                                             Date


                                    CERTIFICATE OF SERVICE

                 I, Gary H. Bowman, do hereby certify that a true and correct
          copy of this Response was served through the ECF system to
          William P. Schneider, Esq. on April 11, 2012.

                                        GARY M. BOW-IAN
